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                           IN THE UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

BRANDON BRINEGAR,

              Plaintiff,

v.                                                  CASE NO: 6:16-CV-432-Orl-31GJK

DITECH FINANCIAL LLC,

            Defendant.
_____________________________/


                                    NOTICE OF SETTLEMENT

       Plaintiff, Brandon Brinegar, by and through the undersigned counsel, hereby notifies the

Court that the Parties have reached a settlement of this matter and this action may be withdrawn

from the two week trial period beginning September 5, 2017. Plaintiff will file dismissal of this

action with prejudice upon the execution and completion of certain terms of the settlement

agreement.

       Respectfully submitted this 31st day of March, 2017.

                                                     /s/ Jared M. Lee
                                                    Jared M. Lee, Esquire
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                                CERTIFICATE OF SERVICE

               I hereby certify on this 31st day of March, 2017, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system and a Notice of this filing
will be sent to the following by operation of the Court’s Electronic Filing System:
Brandon T. White, Esquire
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                                                      /s/ Jared M. Lee
                                                     Jared M. Lee, Esquire




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